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Attorney for Defendant
MICHAEL JOHN AVENATTI

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, SA CR No. 19-061-JVS
Plaintiff, ORDER
V.
MICHAEL JOHN AVENATTI,
Defendant.

 

 

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Good cause having been shown, it is ordered that Defendant Michael John
Avenatti’s ex parte application is granted. His temporary release to home
confinement is extended until October 6, 2020 on the same conditions as

previously ordered by the Court.
So ordered.

Dated: September 16, 2020 Dene 4 a N0

Hon. James 7 Selna
Cc: PTS US. District Judge

 

 
